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                      EXHIBIT 12
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                                                     December 14, 2018


     VIA ELECTRONIC MAIL

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             Re:     In Re National Prescription Opiate Litigation; Case No. 17-md-2804 -
                     Reproduction of IQVIA/IMS Data

     Dear Counsel:

             We write to provide you with an update on the manufacturer Defendants’ efforts
     to produce IMS/IQVIA data no longer in Defendants’ possession. As I mentioned in my
     November 29 email to Peter Weinberger, manufacturer Defendants contacted outside
     counsel for IMS/IQVIA on November 21, the day after the status conference with Judge
     Polster, and have been in regular, constructive contact since that date. Following our
     discussions with counsel for IMS/IQVIA, there appear to be two material obstacles to
     providing Plaintiffs with IMS/IQVIA data no longer in Defendants’ possession. As
     discussed more fully below, those obstacles are: 1) that IMS/IQVIA is unable to provide
     Defendants with an accurate list of the data historically purchased by Defendants; and 2)

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  that IMS/IQVIA is unable to provide Defendants with data as it existed at the time it was
  originally purchased by defendants. Given those obstacles, it does not appear possible
  for Defendants to produce repopulated or reproduced “data related to opioid drugs that
  [each] Defendants obtained or received between 1998-2018” no longer in their
  possession.

           With respect to identification of historic IMS/IQVIA data no longer in the
  possession of Defendants, in addition to conducting their own internal search,
  manufacturer Defendants have asked IMS/IQVIA to provide them with lists of data
  previously respectively purchased by each Defendant. IMS/IQVIA responded by stating
  that it does not maintain historical order information for past opioid-related purchases in
  the ordinary course of business or copies of historic data deliverables given the
  overwhelming quantity of such data and the associated storage costs. While IQVIA
  initially sought to determine what data was historically provided to Defendants manually,
  reviewing its data sources line-by-line, page-by-page, it quickly determined that such an
  endeavor was futile for several reasons. First, IMS/IQVIA is only able to review what
  was historically delivered from its “subnational data offerings” and only for a more
  limited timeframe than 1998-2018, the period covered by Judge Polster’s order. Second,
  IMS/IQVIA cannot recreate data deliverables specific to opioid products without access
  to legacy information from Defendants that is unavailable in most cases. Third,
  IMS/IQVIA has informed us that any recreated list of historic deliverables would
  necessarily be incomplete and inaccurate because any post hoc list would reflect only
  deliverables transmitted at the end of each calendar year, omitting ad-hoc requests or
  mid-year contract changes to data offerings.

          More significant than the inability of IMS/IQVIA to accurately identify the data
  historically purchased by Defendants, however, is the fact that IMS/IQVIA cannot
  provide Defendants with the same data today, in substance or in form, as the data that
  existed and was available to Defendants in the past. According to IMS/IQVIA, given the
  dynamic nature of the data offerings, any data provided today will not match the exact
  data provided during the relevant period. IMS/IQVIA has made clear that any attempt to
  repopulate data will require writing new business rules and making educated
  assumptions, but can in no way reflect the precise deliverables that each Defendant
  previously received. For instance, because of how IMS/IQVIA maintains its data, any
  recreated prescriber information deliverable will necessarily incorporate today’s
  healthcare professional reference data and thus, would not be the same data deliverable as
  what Defendants actually received in the past. Thus, IQVIA cannot repopulate data
  deliverables for Defendants as-was delivered.

         Given that IQVIA cannot provide an accounting of the historic data deliverables
  that Defendants received with any precision and because any attempt to recreate those
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  historic data deliverables will necessarily result in significant differences in comparison
  to the data as it actually existed in the past, the rationale supporting the production of this
  information in the first place has evaporated. As Plaintiffs argued and the Court accepted
  during the November 20, 2018 hearing, third-party vendor data regarding opioid-related
  prescribing is relevant only insofar as it provides information about Defendants’ actual
  knowledge at the time that data was obtained by Defendants. Since this data cannot be
  repopulated today in a way that reflects what Defendants actually received historically, it
  does not provide an accurate picture of what information was available or known to
  Defendants during the relevant timeframe and is not actually data “that the defendant[s]
  obtained or received between 1998-2018.” Dkt. 1147, ¶ 4. Defendants have diligently
  sought to comply with the Court’s order and will provide any IQVIA/IMS data related to
  opioid products that is still within their possession, but neither Defendants nor IQVIA can
  produce information that they no longer have and that cannot be reproduced in the form
  that it previously existed.

                                                  ***

         As always, we are happy to discuss these issues with you further.



                                                 Sincerely,

                                                 /s/ Josh Davis



                                                 Joshua M. Davis
                                                 Counsel for Endo Pharmaceuticals Inc. and
                                                 Endo Health Solutions Inc.
